                      Case 1:21-cr-00100-CRC Document 1 Filed 01/22/21 Page 1 of 1
AO 91 (Rev. 11/11) Criminal Complaint



                                        UNITED STATES DISTRICT COURT
                                                                  for the
                                                            District of &ROXPELD

                  United States of America                           )
                             v.                                      )
                        Jacob Lewis                                  )      Case No.
                                                                     )
                                                                     )
                                                                     )
         'DWHRI%LUWK;;;;;;;;                                    )
                          Defendant(s)


                                                  CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                     January 6, 2021              in the county of                               in the
                         LQWKH'LVWULFWRI       &ROXPELD , the defendant(s) violated:

             Code Section                                                     Offense Description

             18 U.S.C. 1752 (a)(1), (2)- Knowingly Entering or Remaining in any Restricted Building or Grounds Without
             Lawful Authority;
             40 U.S.C. 5104(e)(2)(D) & (G)- Violent Entry and Disorderly Conduct on Capitol Grounds




         This criminal complaint is based on these facts:
  6HHDWWDFKHGVWDWHPHQWRIIDFWV




         9
         u   Continued on the attached sheet.


                                                                                               Complainant’s signature

                                                                                       Stephen R. Hart, Special Agent
                                                                                               Printed name and title
$WWHVWHGWRE\WKHDSSOLFDQWLQDFFRUGDQFHZLWKWKHUHTXLUHPHQWVRI)HG5&ULP3
E\WHOHSKRQH
                                                                                                        2021.01.22
                                                                                                        17:19:40 -05'00'
Date:             01/22/2021
                                                                                                    Judge’s signature

City and state:                         :DVKLQJWRQ'&                          ZIA M. FARUQUI, U.S. Magistrate Judge
                                                                                               Printed name and title
